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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:15-cr-00300-DAD-BAM

12                      Plaintiff,                      WAIVER OF DEFENDANT’S PERSONAL
                                                        APPEARANCE; [PROPOSED] ORDER
13          v.                                          THEREON

14   DIANE MARIE CERIN-PERNISIE,

15                      Defendant.

16

17
            Pursuant to Fed. R. Crim. P. 43(b)(2), Defendant, DIANE MARIE CERIN-PERNISIE,
18
     having been advised of her right to be present at all stages of the proceedings, hereby requests
19
     that this Court proceed in her absence at the Status Conference hearing scheduled for
20
     September 12, 2016. Defendant agrees that her interests shall be represented at all times by the
21
     presence of her attorney, CAROL ANN MOSES, the same as if Defendant were personally
22
     present, and requests that this Court allow her attorney-in-fact to represent her interests at all
23
     times. Defendant further agrees that notice to Defendant’s attorney that Defendant’s presence is
24
     required will be deemed notice to the Defendant of the requirement of his appearance at said time
25
     and place.
26
            Ms. Cerin lives in Tracy, California. She is unable to travel because she had right knee
27
     replacement surgery on August 16, 2016. Her surgeon, Dr. Walt Hour in Tracy, California,
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 1   ordered Ms. Cerin not to travel for 6 weeks.

 2          There was miscommunication between my office and Ms. Cerin regarding the surgery

 3   date and her time of disability. This is the reason for the delay in filing this request for a Rule 43

 4   Waiver specific to September 12, 2016.

 5          Ms. Cerin provided a letter from her doctor to her Pretrial Services Officer, Alicia

 6   Margain. I believe I will be able to provide a copy of her doctor’s letter to the Court on Monday,

 7   September 12, 2016.

 8          Ms. Cerin has appeared at all other court appearances and travels from Tracy, California

 9   for each appearance. She is in good standing with Pre Trial.

10

11   Dated: September 9, 2016                       By: /s/ Diane Marie Cerin-Pernisie
                                                        DIANE MARIE CERIN-PERNISIE
12

13   Dated: September 9, 2016                       By:    /s/ Carol Ann Moses
                                                          CAROL ANN MOSES
14                                                        Attorney for Defendant,
15                                                        DIANE MARIE CERIN-PERNISIE

16
                                                    ORDER
17
                    GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant
18

19   DIANE MARIE CERIN-PERNISIE (6) appearance may be waived at the Status Conference

20   hearing scheduled for September 12, 2016, in accordance with Rule 43 of the Federal Rules of
21   Criminal Procedure until further order of the Court.
22

23   IT IS SO ORDERED.

24      Dated:     September 9, 2016                            /s/ Barbara A. McAuliffe               _
25                                                        UNITED STATES MAGISTRATE JUDGE

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